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3                                UNITED STATES DISTRICT COURT

4                                        DISTRICT OF NEVADA

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6      JOSHUA J. HAWKINS,                                 Case No. 3:20-cv-00209-MMD-WGC

7                                        Petitioner,                      ORDER
              v.
8
       STATE OF NEVADA, et al.,
9
                                     Respondents.
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11           On July 7, 2020, the Court entered an order allowing Petitioner Joshua Hawkins 30

12    days to file an amended petition asserting additional habeas claims. (ECF No. 11.) That

13    order further provided that, if Petitioner did not file an amended petition within the time

14    allotted, Respondents would have 60 days to answer or otherwise respond to Petitioner’s

15    original habeas petition (ECF No. 6 (“Petition”)). (ECF No. 11.)

16           Petitioner did not file an amended petition, and Respondents have not filed an

17    answer or other response to the Petition. Suspecting excusable neglect, the Court will

18    allow Respondents additional time to file their response.

19           It is therefore ordered that Respondents shall have 30 days from the date this order

20    is entered to answer or otherwise respond to the Petition (ECF No. 6). Requests for

21    extensions of this deadline will be granted sparingly, if at all.

22           It is further ordered that, if the Respondents file an answer, Petitioner shall have 60

23    days from the date on which the answer is served on Petitioner to file and serve a reply. If

24    Respondents file a motion to dismiss, Petitioner shall have 60 days from the date on which

25    the motion is served on Petitioner to file and serve a response to the motion to dismiss,

26    and the Respondents shall have 30 days to file a reply in support of the motion.

27           It is further ordered that any additional state court record exhibits filed by either

28    Petitioner or Respondents shall be filed with a separate index of exhibits identifying the
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1     exhibits by number. The CM/ECF attachments that are filed shall be identified by the

2     number or numbers of the exhibits in the attachment. The hard copy of any additional state

3     court record exhibits shall be forwarded—for this case—to the staff attorneys in Reno,

4     Nevada.

5           DATED THIS 2nd Day of November 2020.

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8                                              MIRANDA M. DU
                                               CHIEF UNITED STATES DISTRICT JUDGE
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